
Argued before Barbera, C.J., Greene, Adkins, McDonald, Watts, Hotten, Getty, JJ.
ORDER
The Court having considered the recommendations of the Character Committee for the Fourth Appellate Circuit of Maryland and the State Board of Law Examiners, and the oral argument of the applicant's counsel presented at a show cause hearing held before this Court on November 6, 2017, it is this 8th day of November, 2017,
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, *152that the favorable recommendations of the Character Committee for the Fourth Appellate Circuit, and of the State Board of Law Examiners be, and are hereby accepted, and it is further
ORDERED, that the applicant, upon taking the oath prescribed by the statute, be admitted to the practice of law in this State.
